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                               UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT,el al..

                           Plainlijfs.
                                                           Case No. l:18-cv-00950-LO-JFA
                   V.



  COX COMMUNICATIONS. INC., ei al..

                           Defenckmt.'i.

  ORDER GRANTING CONSENT MOTION TO MODIFY THE BRIEFING SCHEDULE
                            ON THE PARTIES' MOTIONS IN LIMINE


         Before this Court is the Parlies' Consent Motion to Modify the Motion in limine briefing

  schedule. After considering this Motion, the Court is of the opinion that the Motion should be,

  and it hereby is. GRANTED. The Court hereby orders that the schedule for Motions in limine

  shall be modified as follows:




   Event                                 Original Date'                   Requested Date

   Motions in limine                     October 21. 2019                 October 19. 2019


   Motions in limine oppositions         November 4. 2019                 October 30. 2019


   Motions in limine replies             November 11. 2019                November 6. 2019


   Motions in limine hearing             November 15, 2019                November 12. 2019




  ENTERED this                                             .2019.




  Alexandria. Virginia
                                                              The Honorable^-Wnm O'Grady
                                                              United States District Judge


   From the Coun's Pretrial Schedule Order. ECF No. 223.
